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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                    CASE NO. 85CR252-LAB

                       Plaintiff,
                vs.                          JUDGMENT OF DISMISSAL
JOHN DOE AKA BILL (LNU) (81),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

x    the Court has granted the motion of the Government for dismissal;

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment/Information:

     21:841(a)(1) - Possession of cocaine with Intent to

     Distribute (1)

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 10/31/2011
                                             LARRY ALAN BURNS
                                             UNITED STATES DISTRICT JUDGE
